                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                      CRIMINAL DOCKET NO. 5:05cr9-28-V



UNITED STATES OF AMERICA                  )
                                          )
                                          )
              vs.                         )                 ORDER
                                          )
BRADFORD D. DOBBINS                       )
                                          )


              THIS MATTER is before the Court upon Defendant’s Amended Motion To

Continue the sentencing hearing scheduled for the 17 April 2006 sentencing term in the

Statesville Division. For the reasons stated in Defendant’s motion, the Court finds that

good cause has been shown to continue this matter.

       IT IS, THEREFORE, ORDERED that Defendant’s motion for a continuance is

GRANTED. The hearing is hereby continued from the 17 April 2006 sentencing term in

the Statesville Division to the next available sentencing term in the Statesville Division.



                                              Signed: April 11, 2006




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